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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 1 of 17

Pro Se 1 2016

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON
O1-CV-14201K
Donn E CurBow CASE NO.
[to be filled in by Clerk’s Office]
4544 ALAMO NAY
one HALOR WA WATT

Plaintiff(s),

COMPLAINT FOR A CIVIL CASE

Jury Trial: Wes C1 No
Division of Child Support Lone
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entsrement OCBce rs
OCT 15 2001
everett f VA : if SEATILE
S_ DISTRICT COURT

WESTERN bistaies OF WASHINGTON
Defendant(s). peeany

 

 

 

I.‘ THE PARTIES TO THIS COMPLAINT
A.  Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Donn & CuRBow
Street Address 4S4uy ALAMod (DAU

City and County PAIL HAG Bo@

State and ZipCode \Wih 48277

Telephone Number 300. (o(00- 0302 CeU

COMPLAINT FOR A CIVIL CASE - 1

 
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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 2 of 17

Pro Se 1 2016

B. Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if

needed.
Defendant No. 1

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number

COMPLAINT FOR A CIVIL CASE - 2

Dom Clintsma
Aetna Seryetary
Box “45131

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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 3 of 17

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Pro Se 1 2016

Defendant No. 4

 

 

 

 

Name Are p Copper

Job or Title (if known) on Coy ce mer OLE C2r
Street Address p © . Pp x LIS7Zp

City and County Thta mA

State and Zip Code WwW) a ASHH- $S720

 

Telephone Number |- 900 - 1794-75940

#5 See attached
II. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under
the United States Constitution or federal laws or treaties is a federal question case. Under 28
U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and
the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

C) Federal question C] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question
List the specific federal statutes, federal treaties, and/or provisions of the United States

Constitution that are at issue in this case.

 

 

 

COMPLAINT FOR A CIVIL CASE - 3

 
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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 4 of 17

Pro Se 1 2016

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. Ifthe plaintiff is an individual.
The plaintiff (name) , is a citizen of the

State of (name)

 

b. Ifthe plaintiff is a corporation.

 

 

The plaintiff, (name) , is incorporated under
the laws of the State of (name) , iS incorporated under
the laws of the State of (name) , and has its principal

 

place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing
the same information for each additional plaintiff.)

2. The Defendant(s)
a. Ifthe defendant is an individual.
The defendant, (name) Doss C Lintsm wns , is a citizen of the
State of (name) _ | «/ ASH NGTON . Oris a citizen of

(foreign nation)

 

b. Ifthe defendant is a corporation.
The defendant, (name) , 1s incorporated under

the laws of the State of (name) , and has its principal

 

place of business in the State of (name)
Or is incorporated under the laws of (foreign nation) _ ;

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

COMPLAINT FOR A CIVIL CASE - 4

 
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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 5 of 17

Pro Se 1 2016

3. The Amount in Controversy.
The amount in controversy-the amount the plaintiff claims the defendant owes or the

amount at stake-is more than $75,000, not counting interest and costs of court, because (explain):

 

 

 

Il. STATEMENT OF CLAIM

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as
possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. Ifmore than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

See attatne d

 

 

IV. RELIEF

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are continuing
at the present time. Include the amounts of any actual damages claimed for the acts alleged and
the basis for these amounts. Include any punitive or exemplary damages claimed, the amounts,
and the reasons you claim you are entitled to actual or punitive money damages.

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V. CERTIFICATION AND CLOSING
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

COMPLAINT FOR A CIVIL CASE - 5

 
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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 6 of 17

Pro Se 1 2016

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case.

 

Date of signing: VE 13.721 “)
Signature of Plaintiff () < | sion

 

Printed Name of Plaintiff Donn E CweBowW

Date of signing:

 

Signature of Plaintiff

 

Printed Name of Plaintiff

 

Date of signing:

 

Signature of Plaintiff

 

Printed Name of Plaintiff

 

COMPLAINT FOR A CIVIL CASE - 6

 
Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 7 of 17

Statement of Claim

The intentional affliction of emotional distress is defined as extreme
or outrageous conduct that intentionally or recklessly causes
emotional distress to the victim. Extreme or outrageous conduct is
generally defined as being beyond all possible grounds of decency.

Damage:

In early 2017 during a Home Buy, Mr. Curbow was notified that DCS of
Everett was reporting child support payments of $60,000.00 per month
and that he was denied credit.

In late 2017 Mr. Curbow lowered his child support for Case #1743447
for not working. In February of 2018, his child support was again
lowered to $41 per month. However, DCS of Everett was reporting
over $9000.00 per month in child support ignoring the law and a
judge’s order.

In 2018, Mr. Curbow petitioned DCS of Everett to have all the
paperwork on both cases mailed to him. Didn’t happen. Their internal
paperwork however shows a calculated intent to ruin Mr. Curbow’s
credit through harassments, threats and lies. DCS took on the
responsibility in both cases to make sure proper reporting was being
done under several enforcement officers and failed to do so. Their
direct incompetence through the eOscar system resulted in Mr.
Curbow’s credit being destroyed and hasn’t allowed him to take care of
his family at the same time he was making his payments and
cooperating with DCS. Washington State Gov was contacted, the AG of
Washington was contacted, the FTC in Washington State was
contacted, this should have been fixed years ago not only for me but
for others also who found themselves in the arrears whether it was
there fault or as in my case not my fault.
Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 8 of 17

The policies set forth at the Division of Child Support since 2009 have
been beyond what a federal agency should be doing. Don Clintsman,
acting Secretary states he provides executive level strategic and policy
direction for the department while supporting the success of all
programs through information technology services, human resources,

communications, innovation and strategy, public records and diversity
and inclusion.

Don Clintsman knows my file because it’s the longest lasting file on
record. | guess those policy changes he’s been making haven’t been
the greatest ones.

Donn Curbow
4544 Alamo Way, Oak Harbor Wa 982777
360.660.0362
Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 9 of 17

Claim #1.

Thea Drake, current support enforcement officer dated Sept 13 2021
sent letter for Wash Drivers Lic suspension effective Oct 31, 2021 unless
| do the following: Review and sign payment agreement. Ms. Drake
was told in March of 2021 that Mr. Curbow is 100% disabled from the
military and that it’s unlawful to suspend his license. This is her second
attempt at harassment and threatening. Both cases are currently
closed because of a Cease and Desist Order sent in May of 2021. Ms.
Drake was made aware of both cases and the history but made no
attempts at stopping the wrongful payment amounts to the credit
bureaus after being told to do so. Ina direct email with Mr. Curbow,
Ms. Drake lied about closing the cases.

Mr. Curbow is entitled to relief and Ms. Drake should be relieved of her
duties at the Division of Child Support.

Donn Curbow
4544 Alamo Way, Oak Harbor Wa 48277
360.660.0362
Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 10 of 17

Claim #2.

George Briggs, enforcement officer 2019 time frame. On Jan 18, 2019
Mr. Briggs sent Mr. Curbow an income withholding for support letter
on Colton Curbow. The Order Information on the bottom of the front
page states Mr. Curbow is to pay 103.00 per month for child support.
An order was issued Dec 2017 by Law Judge Jason C. Kinn. Under the
$103.00 per month payment it reads 48,343.60 per month. Total
withholding amount: 48,446.60 per month. Either Mr. Briggs typed this
out wrong or the eOscar system is on autopilot; either way both are
wrong. The most | paid on this fraudulent account was $150 or lower.

Starting Jan 10, 2018 G. Briggs mailed Mr. Curbow a child support
billing statement. This statement shows no back support ordered for
case#1108150 for $41,647.44. However, internal department
payments showing Mr. Curbow’s check being split between both cases.

Feb 5, 2018, same statement.

March 5, 2018, same statement.

April 3, 2018, same statement.

May 1, 2018, same statement.

June 1, 2018, same statement.

July 2, 2018, same statement

Aug 31, 2018, same statement however the amount of case#1108150
was down since February.

Donn Curbow
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360.660.0362
Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 11 of 17

Claim #3.

George Briggs, enforcement officer 2018 timeframe. In a back and
forth tug of war between the credit bureaus and DCS over who was to
blame for the wrong reporting, 27 disputes starting in 2017, Mr. Briggs
stated in an email conversation with Mr. Curbow that he had talked
with the supervisor that handles the consumer dispute forms. She said
(don’t know who she is, they won’t tell me) that we just confirm the
balance and that payments are being made. The credit agencies don’t
give us a field to confirm the monthly order amount. She said we can’t
change the fields.

Both are lies. Mr. Briggs then responds by | guess your back dealing
with Experian. Mr. Curbow again disputed both accounts for over 2
years and according to DCS Mr. Curbow would have to keep doing it as
long as the accounts remained open badly damaging his credit for the
rest of his life.

Again, Mr. Curbow is entitled to relief and Mr. Briggs should be relieved
of his duties at the Division of Child Support.

Donn Curbow
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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 12 of 17

Claim #4.

Darcie Cooper, enforcement officer 2020, child support case issues. In
an email conversation, Mr. Curbow over the internet to DCS,
Community Relations Unit Subj: Form submission, Mr. Curbow says VA
Home Loan Specialists are asking for history paperwork on why | have
these accounts. | have purchased a house; this is for my financial
records. Please email. Again this month...(AGAIN)..this month you’re
also reporting | pay 47K a month in child support..if you could explain
this also it would be appreciated.

Ms. Cooper responds please see attached debt calculations for both
cases. The cases are arrears/past due support so the reporting would
be the total owed.

Under claim #3 Mr. Briggs and his supervisor says there’s no field for
the payment; disputed by all three (3) credit bureaus in which they
claim that is false, Ms. Cooper states the reporting would be the total
owed. These facts explain why one month Mr. Curbow would dispute
the wrong payments being reported, 35 days later DCS would submit
the correct payments under the dispute but 30 days later the total
amount of the payment would revert back to the balance as his
monthly payment again damaging his credit.

Ms. Cooper lied knowing that these figures could be fixed inside the
eOscar system in which she has access. All other accounts that Mr.
Curbow got after 2017 all report perfect payments and the amount.

Again, Mr. Curbow is entitled to relief and Ms. Cooper should be
relieved of her duties at the Division of Child Support.

Donn Curbow
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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 13 of 17

Claim #5.

In Jan/Feb/Mar of 2019 | was upset over the fact that every other
month | had to dispute what DCS was reporting. DCS was blaming the
credit bureaus. The credit bureaus were saying no way, it’s them. On
or around mid Dec/Jan, | called my enforcement officer who | believe
was Mr. Briggs however Mr. Briggs was on vacation. Mad as | was, | left
a message stating | was getting a lawyer and this is going to court. It
wasn’t long after that | received a phone call from his assistant who put
me in touch with Kris Lindor, enforcement officer, not mine.

In an email conversation with Mr. Lindor, | calmly stated the problems |
was having. Mr. Lindor states | have received your three disputes and
have responded accordingly. He updated the monthly payment field to
$41.

Remember; claim #3 and #4 said that was impossible.

Note: Even though he was helping, the $41 payment was for the other
account. The account in question here never went before a judge, we
both agreed on $50 payments.

He goes on to say the credit bureaus’ system must default to the total
balance owed because the amount in that field keeps updating to the
new outstanding balance. The credit bureaus ask for the info on the
first Sat and the last Sat each month, they dispute this claim.

The responsibility lies with DCS to make sure all reporting is correct and
accurate, Mr. Lindor does not work for the credit bureaus and his
opinion here was unfounded.

Donn Curbow
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360.660.0362
Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 14 of 17

Claim #6.

Mr. Lindor over a series of emails continues to defend DCS and their
reporting until around Mar | “Experian just told you sent another wrong
report. What is going on?”

Mr. Lindor..and there we have it. Thank you for the information. | have
entered into the eOscar system and sent an update to all four credit
bureaus. The update identified the amount of $39,884 as the current
balance and $41 as the payment..(again, wrong account). I’d give this a
few weeks to be reflected.

Six (6) minutes, | logged into Experian and it was changed. The
following month however it reverted back again.

Mr. Lindor who was not my enforcement officer but was willing to help
actually exposed DCS and all their lies. However, what Mr. Lindor
should have done was red flagged my account and reported it to his
supervisors for corrections. Upper management to my knowledge
knows nothing of my case and you’d expect they would after 26 years.

Again, Mr. Curbow is entitled to relief and Mr. Lindor should be
congratulated for his communication skills with non-clients. However,
after our last communication | sent several more emails that went
unanswered. Mr. Lindor or his supervisors I’m sure found out | was
contacting attorneys and severed all communications. Shortly
thereafter, | was awarded a new enforcement officer also.
Coincidence, doubtful.

Donn Curbow
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360.660.0362
Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 15 of 17

RELIEF

Mr. Curbow requests the court under a jury award all of the $100
Million dollars requested. Federal agencies, federals officers, and
federal employees can’t hide behind the word federal. Untouchable
isn’t the right answer when it comes to someone’s life.

Numerous attempts by Mr. Curbow since 2017 to fix the problems
went unanswered with tons of blame to go elsewhere. The defendants
listed and DCS Agency had a duty to properly obey state laws and their
failure to do so is criminal. Hence the reason why nobody has come
forward to help and better to let it run its course as to not claim
responsibility for creating the intentional infliction upon Mr. Curbow.

Since 2009, Mr. Curbow has tried to use his VA Loan on more houses
than he can count. In trying to obtain housing in 2010 after having a
child, Mr. Curbow had to rely on the Vet Affairs Fund of Oak Harbor just
to rent a trailer. In 2015 and living in that trailer with rats and mold,
Mr. Curbow’s family lost almost all possessions. The Vet Fund again
had to move the Curbow’s next door. That trailer in 2020 was
demolished. In 2017, during the tug of war between the credit bureaus
and DCS Mr. Curbow obtained some credit after years of trying. But
when Mr. Curbow sent a Cease and Desist order in 2021, DCS took it
personal and closed both cases without it going before a judge. To
make matters worse, they claim now it’s an internal collection. With
that internal collection Mr. Curbow again can’t by a home using his VA.
Mr. Curbow never..never said even during all of this happening only
asked DCS if they would report his account correctly. Even after all the
years of being buried, all Mr. Curbow asked was please correct your

Donn Curbow
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Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 16 of 17

wrongs. DCS ignored his pleas and today have made them even worse.
And during these years of agony Mr. Curbow had to rely on vehicles
from your job is your credit. Mr. Curbow’s credit today shows those
vehicles never made it past one month and are now charge offs hurting
him even more. That’s why Mr. Curbow is entitled to all the relief being
asked for. The last 13 years have been hell.

Donn Curbow
4544 Alamo Way, Oak Harbor Wa 98277
360.660.0362
Case 2:21-cv-01420-TLF Document1 Filed 10/15/21 Page 17 of 17

Defendant #5

Name: Chris Lindor

Job Title: Enforcement Officer

Street Address: P.O. Box 11520

City and County: Tacoma

State and Zip Code: Wa 98411-5520
Telephone Number: 1-800-729-7580

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360. 0.0362
